Appellate Case: 22-6086        Document: 010111042542
                                         010111042492              Date Filed: 05/02/2024   Page: 1



                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT

           ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                                PARTIES

      Whyte Monkec Productions, LLC, Timothy
      Sepi

      V.                                                         Case No. 22-6086
      Netflix, Inc., Royal Goode Productions LLC,

                       ENTRY OF APPEARANCE (10th Cir. R. 46.l(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attomey(s) hereby appear(s)
 as counsel for:
  See attached list.
                                          [Party or Parties] 1




 _A_m
    _1_·c_i C
            _ ur_ia_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __, in the above-captioned case(s).
              [Appell ant/Petitioner or Appel Iee/Respondent]



                                                         Nina K. Srejovic



  Signature of Counsel                                   Signature of Couns e i ' - - - -
   May 2. 2024                                            May 2. 2024
  Date                                                   Date
  Juelsgaard Intellectual Property &                     Juelsgaard Intellectual Property &
  Innovation Clinic                                      Innovation Clinic
  Mills Legal Clinic at Stanford Law School              Mills Legal Clinic at Stanford Law School
  559 Nathan Abbott Way                                  559 Nathan Abbott Way
  Stanford, California 94305                             Stanford, California 94305
  (650) 725-6369                                         (650) 723-2237
  pmalone@law.stanford.edu                               srej ovic@law. stanford.edu

  1Counsel must list each party represented. Do not use "et al." or generic tenns such as
  "Plaintiffs." Attach additional pages if necessary.
   Appellate Case: 22-6086       Document: 010111042542
                                           010111042492   Date Filed: 05/02/2024   Page: 2

Alex S. Cohen

 ~- ~vA~
      ~
Signature of Certified Law Student
 May 2. 2024
Date

Juelsgaard Intellectual Property &
Innovation Clinic
Mills Legal Clinic at Stanford Law School
559 Nathan Abbott Way
Stanford, California 94305
(650) 724-1900
ascohen@stanford.edu
Appellate Case: 22-6086    Document: 010111042542
                                     010111042492   Date Filed: 05/02/2024   Page: 3



                          APPENDIX- LIST OF AMICI

       Amici curiae 31 copyright and media law professors are listed below.
 Affiliation is provided for identification purposes only. All signatories are
 participating in their individual capacity, not on behalf of their
 institutions.

       Professor Jonathan Askin
       Brooklyn Law School

       Professor Mark Bartholomew
       University at Buffalo School of Law

        Professor Barton Beebe
        New York University School of Law

        Professor Michael A. Carrier
        Rutgers Law School

        Professor Michael W. Carroll
        American University College of Law

        Professor Zachary Catanzaro
        St. Thomas University College of Law

        Professor Dale Cohen
        UCLA School of Law

        Professor Jorge L. Contreras
        University of Utah S.J. Quinney College of Law

        Professor Stacey Dogan
        Boston University School of Law
Appellate Case: 22-6086   Document: 010111042542
                                    010111042492   Date Filed: 05/02/2024   Page: 4



       Professor Brian L. Frye
       University of Kentucky College of Law

       Professor Shubha Ghosh
       Syracuse University College of Law

       Professor James Gibson
       University of Richmond School of Law

        Professor Ellen P. Goodman
        Rutgers Law School

        Professor James Grimmelmann
        Cornell Law School

        Professor Laura A. Heymann
        William & Mary Law School

        Professor Peter Jaszi
        American University College of Law

        Professor Stacey M. Lantagne
        Western New England University School of Law

        Professor Mark A. Lemley
        Stanford Law School

        Professor Yvette Joy Liebesman
        Saint Louis University School of Law

        Professor Orly Lobel
        University of San Diego School of Law
Appellate Case: 22-6086   Document: 010111042542
                                    010111042492   Date Filed: 05/02/2024   Page: 5



        Professor Glynn Lunney
        Texas A&M University School of Law

        Professor Timothy J. McFarlin
        Samford University Cumberland School of Law

        Professor Mark P. McKenna
        UCLA School of Law

        Professor Tyler T. Ochoa
        Santa Clara University School of Law

        Professor Betsy Rosenblatt
        Case Western Reserve University Law School

        Professor Zahr K. Said
        Santa Clara University School of Law

        Professor Pamela Samuelson
        UC Berkeley School of Law

        Professor Jason M. Schultz
        New York University School of Law

        Professor Jessica Silbey
        Boston University School of Law

        Professor Erik Stallman
        UC Berkeley School of Law

        Professor Rebecca Tushnet
        Harvard Law School
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                                         010111042492               Date Filed: 05/02/2024   Page: 6



                       UNITED STATES COURT OF APPEALS
                           FOR THE TENTH CIRCUIT



                 Stµdent/Supervisor/Dean Certification for Law Student
                                    Repres~ntation
       I. Student Certification

       Docket No. 22-6086

       Case title: Whyte Monkee Productions, LLC v. Netflix, Inc.

       My signature below certifies that:

       a. I am enrolled and in good standing at Stanford Law School
       b. I have completed at least four semesters of legal studies.

       c. I am familiar with. and will comply with the Federal Rules of Civil,
       Criminal, and Appellate Procedure and Evidence; the Code of
       Professional Responsibility; and the rules of this court.
       d. I am not receiving compensation directly from the party on whose
       behalf I am rendering services.



       Signature:

       Date: April 25, 2024
       Name: _ _A....;;.:;;.;
                       l e__x;;...S....,p_e=n.....
                                               c-= e1__
                                                     •C______
                                                          oh ___e__n_ _ _ _ _ _ _ __




                                                      1
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                                    010111042492        Date Filed: 05/02/2024   Page: 7



       II. Supervising Attorney Agreement

       Docket No. 22·6086
       Case title; Whyte Monkee Productions, LLC v. Netflix, Inc.

       Party Represented: Amicus copyright law professors

       I certify that I am a member in good standing of th~ Tenth Circuit bar.

       On behalf of the party listed above, I will assume personal
       professional responsibility for the quality of the work of the student
       below; guide and assist the student as necessary or appropriate under
       the circumstances; sign all documents filed with the court; appear with
       the student in any oral presentations before the court; file a written
       agreement to supervise the student; and supplement any written or
       oral statement made by the student to this· court or opposing counsel if
       the court so requests.
       Student: _ _,A=-=-=
                        le=x:.-.;C=o=h=e=n,.___ _ _ _ _ _ __




       Date
                                      1           \
       Name:        Phillip R. Malone,
                    Stanford Law School
                    559 Nathan Abbott Way
                    Stanford, California 94305
                    (650) 725•6369




                                            2
Appellate Case: 22-6086   Document: 010111042542
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       III. Dean Certification
       Docket No. 22-6086

       Case title: Whyte Monkee Productions, LLC v. Netflix, Inc.

       I certify that the student listed below is enrolled and in good standing
       at Stanford Law School and have completed at four semesters of
       legal studies. I further certify that the student is of good character and
       competent legal ability, and is qualified to provide the legal
       representation permitted by Tenth Circuit Rule 46. 7.

       Student: Alex Cohen


       Dean

       Signature:

       Date:




       Stanford Law School
       559 Nathan Abbott Way
       Stanford, California 94305

       Phone Number:      bSO-Cf,Cf.;-~ 4-<f ~




                                            3
    Appellate Case: 22-6086         Document: 010111042542
                                              010111042492             Date Filed: 05/02/2024        Page: 9

Fwd: PTLS Application Approval Notice [ ref:!00Dt00TZax.!S00By0AMytk:ref]
Phil Malone < pmalone@law.stanford.edu >
Tue 4/30/2024 5:25 PM
To:Ana Villanueva <anamv@stanford.edu>
Here you go. Thanks!!

p



Sent from my iPhone

Begin forwarded message:


       From: State Bar of Californi~ - Special Admissions <spedal.admissions@calbar.ca.gov>
       Date: March 13, 2024 at 10:58: 11 AM PDT
       To: ascohen@stanford.edu
       Cc: pmalone@law.stanford.edu, srejovic@law.stanford.edu
       Subject: PTLS Application Approval Notice [ ref:!00Dt00TZax.!5008y0AMytk:ref]




                        The State Bar                                               OFACE OF ADMISSIONS

                        ofCalifornia


         NOTICE OF STUDENT CERTlf !CAflON

         Certification Number: 01043600
         Effective Date: 4/3/2024
         Graduation: 6/2024
         Law School: STANFORD LAW SCHOOL
         Supervising Attorney: Phillip Malone and Nina Srejovlc
         Applicant File Number: 706301


         Dear Alex Spencer Cohen,




        The State Bar of California's Office of Admissions has reviewed your appllcatlon and
        determined that you have met the requirements for certification under the Rules Governing
        the Practlaal Training of Law Students (Rules). We are pleased to Inform you that you have
        been c~rtlfled to engage In th~ activities set forth in l7tte 3.4 of the Rules under the
        supervision of Phillip Malone and Nina Srejovlc.
Appellate Case: 22-6086         Document: 010111042542
                                          010111042492              Date Filed: 05/02/2024          Page: 10

     Under Title 3. Rule 3.8 of the Rules Governing the Practical Training of Law Students, your
     certification will expire on 6/9/2024, unless terminated earlier.

     The Practical Training of Law StuQents Program information is available on the State Bar's
     website at MP://www. oa!bar.Qa,gov/Admlsslons/Speci a1-Adm!ssJons/PractiQa!-Tralnlng:Qf.:
     Law..Stydents. In addition, there is a model consent form that your supervising attorney may
     wish to refer to when pteparlng a consent form to be presented to client(s) when complying
     with Title 3, Rule 3,4 of the Rules.

     Sincerely;

     Office of Admissions

     The State Bar of California I a·45 S. Figueroa Street I Los Angeles, CA 90017
     (213) 765-1000 l www.calbar,ca,gov/Admlssioos


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      Working to protect the public In support of the mission of the State Bar of California.

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      CC: Supervising Attorney, Dean




    ref:!00DtO0TZax. !S()08y0AMytk:ref
Appellate
   From: Case:   22-6086
          State Bar           Document:
                    of California - Special 010111042542
                                            010111042492     Date Filed: 05/02/2024 Page: 11
                                            Admissions <special.admissions@calbar.ca.gov>
    Date: March 13, 2024 at 10:58:11 AM PDT
    To: ascohen@stanford.edu
    Cc: pma lone@law.stanford:edu, srejovic@law .stanford .edu
    Subject: PTLS Application Approval Notice [ ref:!O0Ot00TZax.!5008y0AMytk:ref]


                     The State Bar                                                 OfflCE: OF AOMlSSIONS

                     ofCalifornia
   NOTICE OF STUDENT CERTIFICATION
    Certification Number: 01043600
    Effective Date: 4/3/2024
    Graduation: 6/2024
    Law School: STANFORD LAW SCHOOL
    Supervising Attorney: Phillip Malone and Nina Srejovic
    Applicant File Number: 706301



    Dear Alex Spencer Cohen,

    The State Bar of California's Office of Admissions has reviewed your application and determined that
    you have met the requirements for certification under the Rules Governing the Practical Training of
    Law Students (Rules). We are pleased to inform you that you have been certified to engage in the
    activities set forth in Title 3.4 of the Rules under the supervision of Phillip Malone and Nina
    Srejovic.

    Under Title 3. Rule 3.8 of the Rules Governing the Practical Training of Law Students, your
    certification will expire on 6/9/2024 , unless terminated earlier.

    The Practical Training of Law Students Program informatioh is available on the State Bar's website at
    http://www. caIba r.ca.gov/Admisstons/Special-Admissions/Practica I-Trai ning-of-Law-Students. In
    addition, there is a model consent form that your supervising attorney may wish to refer to when
    preparing a consent form to be presented to client(s) when complying with Title 3, Rule 3.4 of the
    Rules.

    Sincerely,

    Office of Admissions

    The State Bar of California I 845 S. Figueroa Street I Los Angeles, CA 90017
    (213) 765-1000) www.calbar.ca.gov/Admissions

    OUR VALUES I Clarity • Investing in Our People • Excellence • Respect • Growth Mindset

    Working to protect the public in support of the mission of the State Bar of California.
    Please consider the environment before printing this email.
    Linkedln I Twitter IFacebook I lnstagram IYouTube

    CC: Supervising Attorney, Dean

    ref: !OODtOOTZax.!5008yOAMytk:ref
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                     UNITED STATES COURT OF APPEALS
                         FOR THE TENTH CIRCUIT



                     Client Consent to Law Student Representation

        Docket No. 22-6086

        Case title: Whyte Monkee Productions, LLC v. Netflix, Inc.

        I authorize law student(s) enrolled at Stanford Law School under the

        supervision of Phillip R. Malone to appear in court or at other

        proceedings and to prepare documents on my behalf in the above

        referenced case.


        Signature:

        Date:   05-01-2024

        Name: Mark A. Lemley

        Address:

        Stanford Law School
        559 Nathan Abbott Way
        Stanford, California 94305

        Phone Number: 650-723-4605




                                           1
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         CERTIFICATE OF INTERESTED PARTIES (10th Cir. R 46.l(D))



  Pursuant to Tenth Circuit Rule 46.1 (D), the undersigned certifies2 as follows:

 D The following (attach additional pages if necessary) in_dividuals and/or entities are not
          direct parties in this appeal but do have an interest in or relationship to the litigation
          and/or the outcome of the litigation. See 10th Cir. R. 46.l(D). ln addition, attorneys not
          entering an appearance in this court, but who have appeared for a party in prior trial or
          administrative proceedings, are noted below.




 I.ti There are no such parties/attorneys, or any such parties/attorneys have already been
          disclosed to the court.




  Date


  Signature




  2 Pursuant to Tenth Circuit Rule 46.1(0)(6), this certificate must be promptly updated if the

  required information changes.
                                                    2
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                                         010111042492              Date Filed: 05/02/2024        Page: 14



                                  CERTIFICATE OF SERVICE
  I hereby certify that:

          111'1   All other parties to this litigation are either: (1) represented by attorneys; or
                  (2) have consented to electronic service in this case; or

         D On _ _ _ _ _ _ _ _ _ _ _ I sent a copy of this Entry of Appearance
                                   [date]
  Fonn to:



  at._ __ _ __ _ __ _ _ _ _ _ _ __ _ __ _ _ _ __ _ __ _ __


  the last known address/email address, by _ _ __ _ _ _ __ _ __ _ _ _ _ __
                                                      [state method of service}




  Signature




                                                      3
